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                       IN THE UNITED STATES DISTRICT COURT FOR THE
                               EASTERN DISTRICT OF VIRGINIA
                                       ALEXANDRIA DIVISION


UNITED STATES OF AMERICA

       V.                                                       Case No. l:16-cr-314-GBL


ANDREW OTTO BOGGS,

        Defendant.

                                                ORDER


        THIS MATTER is before the Court on the Restitution Order for Defendant Andrew Otto Boggs

(Dkt. No. 65). The Restitution Order states both that interest is waived and that interest accrues as

provided in 18 U.S.C. §3612(f). Upon the request ofthe parties, the Court enters this order toclarify that
interest is waived, as stated during the sentencinghearing.

        Accordingly, it is hereby

        ORDERED that the Restitution Order (Dkt. No. 65) is amended to waive interest.

        IT IS SO ORDERED.



        ENTERED this TOflo day ofSeptember, 2017                                   /s/
                                                              Gerald Bruce Lee
Alexandria,Virginia                                           United States DistrictJudge
